                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


BONGO PRODUCTIONS, LLC, et al.,                       )
                                                      )
       Plaintiffs,                                    )
                                                      )
       v.                                             )             Civ. Action
                                                      )             No. 3:21-cv-00490
                                                      )             Judge Trauger
CARTER LAWRENCE, et al.,                              )
                                                      )
       Defendants.                                    )
                                                      )

                                JOINT MEDIATION REPORT

       The Parties to this action pursuant to the Court’s Initial Case Management Order entered

on August 23, 2021 (Doc. No. 29) hereby notify the Court that they have made a good faith

effort to resolve the case. This case is a constitutional challenge to H.B. 1182/S.B.1224, 112th

Gen. Assemb., 1st Reg. Sess. (Tenn. 2021) (“the Act”), enacted by the Tennessee General

Assembly which requires designated businesses to post a sign regarding their polices on

restroom use. The core issue in this case involves a dispute on the law, namely whether the Act

is unconstitutional under the First Amendment. Plaintiffs also do not seek monetary damages,

but instead have requested that the law be declared unconstitutional and injunctive relief be

granted. For these reasons, the parties agree that mediation or a settlement conference will not

resolve the dispute between the parties. The parties do expect the case will be resolved through

dispositive motions and not require a trial.

Dated: December 15, 2021
                                               Respectfully submitted,
                                               /s/ Thomas H. Castelli
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                               CERTIFICATE OF SERVICE

       I hereby certify that on December 15, 2021, a true and correct copy of the foregoing

report was served on the Tennessee Attorney General’s Office, counsel for all Defendants, via

the Court’s ECF/CM system.

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                                                           /s/ Thomas H. Castelli
                                                           Thomas H. Castelli




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